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                                   WITNESS AND EXHIBIT LIST

                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION
 Main Case No: 22-33814                    Name of Debtor: AutoVocity Transport, LLC



 Witness(es):                                   Judge: Eduardo V. Rodriguez
    1. Rafael Dominguez                         Courtroom Deputy: Jeannie Chavez
                                                Hearing Date: January 31, 2023
                                                Hearing Time: 1:30 PM
                                                Party’s Name: AutoVocity Transport, LLC
                                                Attorney’s Name: Robert “Chip” Lane
                                                and Joshua Gordon
                                                Attorney’s Phone: 713-595-8200
                                                Nature of Proceeding: Final Hearing on Motion
                                                for Authority to Use Cash Collateral


                                          EXHIBITS
Ex.                  Description                Offered     Objection    Admitted/    Disposition
 #                                                                         Not
                                                                         Admitted
        Emergency Motion for Authority to Use
             Cash Collateral (Docket No. 2)
1     14-day and 30-day Budget
2     UCC List
3     U.S. SBA
4     MCA Servicing
5     Samson Horus
6     Byzfunder
7     Simply Funding
8     Vivian Capital
9     Vault 26 Capital
10    Novus Capital
11    G and G Funding
         Case 22-33814 Document 33 Filed in TXSB on 01/25/23 Page 2 of 3



                                      CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the Witness and Exhibit List and attached Exhibits
was served to the parties listed below and to the parties on the attached mailing matrix either via
electronic notice by the court’s ECF noticing system, by e-mail, or by first-class mail pre-paid postage on
January 25, 2023:

Debtor:
Autovocity Transport, LLC
2925 Richmond Ave, Ste 1200
Houston, TX 77098

US Trustee:
Office of The United States Trustee
515 Rusk Street, Suite 3516
Houston, TX 77002


Notice sent via e-mail:
skaminski@kaminskilawpllc.com

Notice will be electronically mailed to:

Jeannie Lee Andresen on behalf of Creditor Harris County
houston_bankruptcy@lgbs.com, chymel@dorelaw.com

Alicia Lenae Barcomb on behalf of U.S. Trustee US Trustee
alicia.barcomb@usdoj.gov

Chad Wesley Cowan on behalf of Creditor SBA
chad.cowan@usdoj.gov,Nicole.Robbins@usdoj.gov; Sydnie.Kempen@usdoj.gov;USATXS.Bankruptcy-
ECF@usdoj.gov;caseview.ecf@usdoj.gov

Jarrod B Martin
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cjbm11@trustesolutions.net;lara.coleman@chamberlainlaw.com;jarrod.martin@chamberlainlaw.com

US Trustee
USTPRegion07.HU.ECF@USDOJ.GOV

                                                                 /s/ Robert C. Lane
                                                                 Robert C. Lane
                            Case 22-33814 Document 33 Filed in TXSB on 01/25/23 Page 3 of 3
Label Matrix for local noticing                      AutoVocity Transport, LLC                            Harris County
0541-4                                               2925 Richmond Ave. Suite 1200                        Linebarger Goggan Blair & Sampson LLP
Case 22-33814                                        Houston, TX 77098-3143                               C/O Jeannie Lee Andresen
Southern District of Texas                                                                                P.O. Box 3064
Houston                                                                                                   Houston, Tx 77253-3064
Wed Jan 25 16:13:55 CST 2023
4                                                    G&G Funding                                          Internal Revenue Service
United States Bankruptcy Court                       57 West 57th Street 4th Floor                        P.O. Box 7346
PO Box 61010                                         New York, NY 10019-2827                              Philadelphia, PA 19101-7346
Houston, TX 77208-1010


Novus Capital Funding                                Rafael Dominguez, Jr                                 Regus Management Group LLC
7 Elmwood Drive Suite 301                            419 E. 24th                                          15305 North Dallas Parkway 400
New City, NY 10956-5144                              Houston, TX 77008-2348                               Addison, TX 75001-6922



Samson MCA LLC                                       Simply Funding LLC                                   Texas Workforce Commission
Berkovitch & Bouskila, PLLC                          45 Broadway Suite 2450                               PO BOX 12548, MC-008
80 Broad St, Suite 3303                              New York, NY 10006-3760                              Austin, TX 78711-2548
New York, NY 10004-2845


The Lane Law Firm                                    U.S. Small Business Administration                   US Trustee
6200 Savoy Dr Ste 1150                               1545 Hawkins Blvd 202                                Office of the US Trustee
Houston, TX 77036-3369                               El Paso, TX 79925-2654                               515 Rusk Ave
                                                                                                          Ste 3516
                                                                                                          Houston, TX 77002-2604

Vault Capital                                        Vivian Capital Group                                 Jarrod B Martin
506 2nd Ave Unit 2200                                486 Market St                                        Chamberlain Hrdlicka
Seattle, WA 98104-2359                               Newark, NJ 07105-2916                                1200 Smith Street
                                                                                                          Suite 1400
                                                                                                          Houston, TX 77002-4496

Robert Chamless Lane
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6200 Savoy Drive
Ste 1150
Houston, TX 77036-3369




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)SBA                                               (d)AutoVocity Transport, LLC                         End of Label Matrix
                                                     2925 Richmond Ave. Suite 1200                        Mailable recipients      18
                                                     Houston, TX 77098-3143                               Bypassed recipients       2
                                                                                                          Total                    20
